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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

LINDSAY M. BILL,

             Plaintiff,
                                                 Case No.: 8:15-cv-00051-JDW-EAJ

v.

NCO FINANCIAL SYSTEMS, INC.,

             Defendant.
                                                      /

                          NOTICE OF PENDING SETTLEMENT

      Defendant, NCO Financial Systems, Inc. (NCO), by and through undersigned

counsel, hereby submits this Notice of Pending Settlement and states the parties have

reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the formal settlement documents. Upon full execution of the same, the parties

will file the appropriate dismissal documents with the Court.

Dated: November 18, 2015                 Respectfully Submitted,

                                         /s/ Michael Schuette
                                         Michael Schuette, Esq.
                                         Florida Bar No. 010681
                                         Dayle M. Van Hoose, Esq.
                                         Florida Bar No. 0016277
                                         SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.
                                         3350 Buschwood Park Drive, Suite 195
                                         Tampa, FL 33618
                                         Telephone: (813) 890-2472
                                         Facsimile: (866) 466-3140
                                         mschuette@sessions.legal
                                         dvanhoose@sessions.legal


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                                          Attorneys for Defendant,
                                          NCO Financial Systems, Inc.

                              CERTIFICATE OF SERVICE

       I certify that on this 18th day of November 2015, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system, including Plaintiff’s counsel as

described below. Parties may access this filing through the Court’s system.

            John Gadd, Esq.                                 Peter J. Grilli, Esq.
     2727 Ulmerton Road, Suite 250                        3001 West Azeele Street
       Clearwater, Florida 33762                           Tampa, Florida 33609



                                          /s/ Michael Schuette
                                          Attorney




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